                        Case 9:18-bk-05608-FMD             Doc 114      Filed 03/27/19      Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                03/27/2019 10:30 AM
                                                                COURTROOM Room 4-102
HONORABLE CARYL DELANO
CASE NUMBER:                                                    FILING DATE:
9:18-bk-05608-FMD                        11                       07/06/2018
Chapter 11
DEBTOR:                 Truth Technologies, Inc.


DEBTOR ATTY:           Michael Dal Lago
TRUSTEE:               NA
HEARING:
(1) Confirmation Hearing
- Objection to Confirmation of Amended Plan Filed by David E Hicks on behalf of Creditor Complete Business Solutions Group
                       d/b/a PAR Funding (related document(s)[99]). (Hicks, David) Doc #109
(2) Continued Motion for Authority to Pay Critical Vendors nunc pro tunc to July 6, 2018 Filed by Michael R Dal Lago on behalf of
                       Debtor Truth Technologies, Inc. (Dal Lago, Michael) Doc #101
(3) Continued Motion to Allow Prior Post-Petition Insider Advances Filed by Michael R Dal Lago on behalf of Debtor Truth
                       Technologies, Inc. (Dal Lago, Michael) Doc #102

APPEARANCES:: Mike Dal Lago, Ben Lambers, Dennis LeVine, Ron Cohen

WITNESSES:

EVIDENCE:

RULING:
(1) Confirmation Hearing - All matters Continued to 4/17/2019 at 10:30 am O/Dal Lago

- Objection to Confirmation of Amended Plan Filed by David E Hicks on behalf of Creditor Complete Business Solutions Group
d/b/a PAR Funding (related document(s)[99]). (Hicks, David) Doc #109


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(3) Continued Motion to Allow Prior Post-Petition Insider Advances Filed by Michael R Dal Lago on behalf of Debtor Truth
Technologies, Inc. (Dal Lago, Michael) Doc #102
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.

                                  Case Number 9:18-bk-05608-FMD                      Chapter 11
